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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 SECURITIES AND EXCHANGE
 COMMISSION,
                                                                     23 Civ. 04738 (KPF)
                               Plaintiff,

                 -against-

 COINBASE, INC. AND COINBASE GLOBAL,
 INC.,

                               Defendants.




    DECLARATION OF NICHOLAS C. MARGIDA IN SUPPORT OF PLAINTIFF’S
          OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL

       I, Nicholas C. Margida, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:

       1.       I am an attorney admitted pro hac vice to appear as counsel for Plaintiff, U.S. Securities

and Exchange Commission (“SEC”) in the above-captioned action. I am trial counsel in the SEC’s

Division of Enforcement, working in the SEC’s home office in Washington, D.C.

       2.       I have personal knowledge of the facts and circumstances presented in this

declaration based upon my representation of the SEC in this action. As counsel for the SEC, I am

leading the SEC’s discovery efforts in this action, have reviewed documents obtained by the SEC

during its investigation and litigation of this matter, and have conducted meet-and-confers with

counsel for Defendants Coinbase, Inc. and Coinbase Global., Inc.’s (collectively, “Defendants” or

“Coinbase.”).

       3.       I submit this declaration in support of the SEC’s Opposition to Defendants’ Motion

to Compel the Production of Documents from the SEC and from the current SEC Chair (the

“Motion”), D.E. 145-146.


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        The SEC’s Production of the Investigative File

        4.      Between May 24 and May 29, 2024, the SEC produced to Defendants the entire non-

privileged portion of the two investigative files for the matters captioned In the Matter of Coinbase,

conducted under SEC Enforcement Division (“Enforcement”) File Nos. HO-14315 and SF-04523

(the “Investigative File”), which together led to the filing of this litigation.

        5.      This document production comprised approximately 241,320 documents, a volume

of over 136 GB, and included all documents gathered in connection with the SEC’s investigation of

Coinbase in this matter (the “Investigation”).

        6.      The SEC’s Investigative File production was comprised of the following:

               a.     All documents and information produced to SEC Enforcement staff by
        Coinbase and third parties in connection with the Investigation;

                 b.       All public documents obtained by SEC Enforcement staff during the
        Investigation, including public SEC filings, transcripts of Coinbase earnings and analysts
        calls, press releases, analyst reports, news articles, and website captures (including of videos,
        social media posts, and other electronic information) concerning Coinbase and the crypto
        assets identified in the SEC’s Complaint (the “Named Tokens”), including offers and sales
        of those assets, and the issuers, developers, and ecosystems thereof);

               c.      All transcripts of investigative testimony taken by the SEC staff of certain
        witnesses during the Investigation and all exhibits marked during that testimony;

                d.       All documents relied upon and/or referenced in the SEC’s Complaint; and

                e.      All communications between SEC Enforcement staff conducting the
        Investigation and Coinbase or any non-governmental third parties.

        7.      To produce the email communications referenced in ¶ 6(e) above, SEC staff

searched all emails sent during the Investigation, by and to 18 Enforcement staff who conducted the

Investigation, by applying 17 search terms, including “Coinbase.” After migrating the search-yield

set to its review platform, the SEC reviewed approximately 33,652 emails and therefrom produced

all non-privileged SEC emails (including any attachments thereto) with Coinbase (including its

attorneys) or with any third party. See infra at ¶ 17 (describing the SEC’s privilege review for the


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Investigative File).

        8.      The SEC’s Investigative File production included documents responsive to, among

others, Coinbase’s Requests for Production (“RFPs”) Nos. 2, 4-5, 8, 15-17, and 20-21, all of which

are the subject of the Motion—or were among the 16 RFPs disputed by the parties, as of July 12, see

Ex. 5 to the Declaration of Rebecca Dunnan (“Dunnan Decl.”) filed herewith. See also App’x A

attached hereto.

        The SEC’s Search of 10 Additional Enforcement Division Files In Addition to the
        Investigative File

        9.      To respond to the RFPs and after meeting and conferring with Coinbase, the SEC

has also undertaken efforts to search 10 additional investigative files. The SEC selected these 10

additional investigations in part by



        10.     These 10 additional investigations also include four investigations that resulted in

five SEC civil enforcement actions, which Coinbase specifically requested in RFP 26 (see D.E. 149-1

at 17)—SEC v. Wahi et al., Case No. 2:22-cv-1009 (W.D. Wash.), SEC v. Binance Holdings Ltd. et al.,

Case No. 23-cv-1599 (D.D.C.); SEC v. Bittrex, Inc., et al., Case No. 23-cv-580 (W.D. Wash.); SEC v.

Payward Ventures, Inc. and Payward Trading, Ltd. (D/B/A Kraken), Case No. 23-cv-588 (N.D. Cal.); and

SEC v. Payward, Inc. and Payward Ventures, Inc., Case No. 23-cv-6003 (N.D. Cal.). The Wahi matter

involves trading on Coinbase’s platform. The Binance, Bittrex, and second Payward matter involve

Exchange Act registration charges, like this case does. The first Payward matter, and also Binance,

involve Securities Act registration charges as to staking programs, like this case does. The 10

additional investigations also include SEC v. Consensys Software Inc., Case No. 24-cv-4578 (E.D.N.Y.),

In the Matter of Voyager Digital LLC, and




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files from RFP 26, which yielded a total of 2.1 million “hits” and the following specific results: “Kik

Interactive (24,216), Telegram (35,630), Ripple Labs (349,548), LBRY (6,378), Wahi (13,821), Genesis

(16,381), Terraform Labs (1,625,352), and Payward Ventures/Kraken Staking (39,990).” Id. 3 Applying the
                                                                                             2F




term “Coinbase” specifically yielded nearly 200,000 hit results.

        13.        The SEC has now also applied Coinbase’s “preliminary search” proposed in its June

25 letter (D.E. 149-3, App’x), and has generated a hit report for Coinbase’s 48 terms applied to 22

SEC custodians (including the SEC’s 5 proposed custodians) for a nearly seven-year period. See

App’x B attached hereto.

        14.        As reflected in Appendix B, applying Coinbase’s search yields 1,623,010 documents

with a search hit (and inclusive of attachments, a total of 3,009,996 documents). The total volume is

324.56 GB.

        15.        Applying the SEC’s proposed search to its 5 proposed custodians, see D.E. 149-4,

Att. A, yields a total of 29,741 documents with a search hit (and inclusive of attachments, a total of

54,462 documents) thereto, that are potentially responsive to Coinbase’s RFPs. See App’x C

attached hereto.

        16.        Accordingly, the difference between Coinbase’s proposed search (¶ 14) and the

SEC’s proposed search (¶ 15) amounts to 1,593,269 search hits—and a total of 2,955,534

documents. 4  3F




        The SEC’s Privilege Log

        17.        On July 19, 2024, the SEC provided to Coinbase the SEC’s Privilege Log (including


3 The SEC did not apply searches to documents in the databases for the Binance, Bittrex, or second Payward

Ventures matters, because, by that point, it had already agreed to search those files for certain responsive
material and produce documents. In the same July 2 letter, the SEC further agreed to Coinbase’s specific
request to search the Wahi and first Payward Ventures files and produce responsive documents. D.E. 149-4, at
2-3.
4 The search hit results for both Coinbase’s and the SEC’s proposed searches do not reflect the exclusion of

duplicate documents, a process the SEC is still undertaking given the large volume of documents.

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three metadata logs) in this case, consisting of documents withheld for privilege or protection from

the documents in the Investigative File, pursuant to the Court’s Fed. R. Evid. 502(d) Order, D.E.

132. The SEC’s Privilege Log is 648 pages, and the metadata logs contain approximately 14,000

individual entries, nearly all of which are internal SEC emails. The SEC’s privilege review involved

reviewing approximately 64,000 emails and attachments thereto from the Coinbase Investigative

File. To accomplish this review and prepare the SEC’s Privilege Log (including the redaction of

privileged or otherwise protected information from the metadata logs), SEC staff expended

approximately 400 work hours.


       I declare under penalty of perjury that the foregoing is true and correct.

Dated: August 5, 2024                          By:       /s/ Nicholas C. Margida
Washington, DC                                           Nicholas C. Margida




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